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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

  UNITED STATES OF AMERICA,                         )
                                                    )
          Plaintiff,                                )         Civil Action No. 6:19-cr-053-CHB
                                                    )
  v.                                                )
                                                    )    ORDER ADOPTING MAGISTRATE
  JAMES T. TOMBLIN,                                 )      JUDGE’S RECOMMENDED
                                                    )           DISPOSITION
          Defendant.                                )

                                       ***    ***       ***   ***
        This matter is before the Court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram [R. 13]. The Recommended Disposition addresses

Defendant’s reported violations of his supervised-release conditions and ultimately recommends

a term of imprisonment of approximately four months.

       In his Recommended Disposition, Magistrate Judge Ingram detailed the facts surrounding

Defendant’s two violations. [R. 13, pp. 1–2]. The violations stem from an August 20, 2020 urine

sample that tested positive for methamphetamine. Id. at 2. Violation #1 alleges a violation of the

condition that Defendant refrain from possessing or using any controlled substance unless

prescribed by a physician. Id. Violation #2 charges a violation of the condition that Defendant

refrain from committing another federal, state, or local crime. Id. Defendant entered a knowing,

voluntary, and intelligent stipulation to both violations, acknowledging under oath that he used

methamphetamine. Id. at 3.

       Magistrate Judge Ingram considered the record, the Supervised Release Violations

Report and its accompanying documents, and the sentencing materials from the underlying

Judgment. Id. He also considered the factors set forth in 18 U.S.C. § 3553 and imported into the

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§ 3583(e) analysis, including the gravity of the underlying offense, which in this case is a Class

A felony. Id. He also addressed the Policy Statements of Chapter 7 of the Sentencing Guidelines

and the advisory imprisonment ranges for revocation, which are based on criminal history and

the “grade” of the violation. Id. 3–4. In this case, Defendant’s Violation #2 qualifies as a Grade

B violation. Id. at 4. This grade, when considered with Defendant’s criminal history, results in a

suggested imprisonment range of six to twelve months. Id. Magistrate Judge Ingram, after

considering the arguments of the parties, the statutory factors, and the Sentencing Guidelines

range, recommended a term of imprisonment of approximately fourth months, with a release date

of December 18, 2020. Id. at 8.

       Magistrate Judge Ingram’s Recommended Disposition advised the parties that any

objections must be filed within fourteen (14) days. Id. at 10. The time to file objections has

passed, and neither party has filed any objections to the Recommended Disposition nor sought an

extension of time to do so. Defendant has filed a Waiver of Allocution, waiving his right to

appear before the District Court and waiving the right to make a statement and present

information in mitigation. [R. 14]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1). When no

objections are made, this Court is not required to “review . . . a magistrate’s factual or legal

conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474 U.S. 140, 151

(1985). Parties who fail to object to a Magistrate Judge’s recommended disposition are also

barred from appealing a district court’s order adopting that recommended disposition. United

States v. White, 874 F.3d 490, 495 (6th Cir. 2017); United States v. Walters, 638 F.2d 947, 949–

50 (6th Cir. 1981). Nevertheless, this Court has examined the record and agrees with the



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Magistrate Judge’s Recommended Disposition. Accordingly, the Court being otherwise

sufficiently advised,

       IT IS HEREBY ORDERED as follows:

   1. The Magistrate Judge’s Recommended Disposition [R. 13] is ADOPTED as the opinion

       of this Court;

   2. Defendant James T. Tomblin is found GUILTY of Violation #1 and Violation #2;

   3. Defendant Tomblin’s supervised release is REVOKED;

   4. Defendant Tomblin is sentenced to a term of imprisonment to terminate on December

       18, 2020 with a new four-year term of supervised release to follow under the conditions

       previously imposed [R. 1-3];

   5. An Amended Judgment will follow.

       This the 19th day of October, 2020.




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